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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 9:06-CR-30(8)
                                                 §
 RICHARD SOLIS                                   §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On March 23, 2007, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Richard Solis, on Count I of the charging




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 Information1 [Clerk’s doc. #838] filed against Defendant, Richard Solis, in this cause. Count I

 of the Information charges that on or about September 4, 2005, in the Eastern District of Texas,

 Richard Solis, Defendant herein, did knowingly, intentionally and unlawfully possess with intent

 to distribute more than one hundred kilograms of a mixture or substance containing a detectable

 amount of marijuana, a Schedule I controlled substance, in violation of Title 21, United States

 Code, Section 841(a)(1).

        Defendant, Richard Solis, entered a plea of guilty to Count I of the Information into the

 record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.       That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.       That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.       That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant



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             The Defendant executed a Waiver of Indictment prior to the guilty plea
 hearing.      The waiver was filed in the record.


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 personally in open court, the Court determines that Defendant Richard Solis’ plea is voluntary

 and did not result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crime charged under 21

 U.S.C. § 841(a)(1).

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Resume. If the

 case proceeded to trial, the Government and Defendant agreed that the Government would

 prove, beyond a reasonable doubt, that the Defendant possessed, with the intent to distribute a

 detectable amount of marijuana.

        Specifically, in support, the Government would establish, through sworn testimony and

 evidence, including expert witnesses and admissible exhibits, the following facts, as stated in the

 Factual Resume:

        On or about September 4, 2005, Juan Andrade (Andrade) and Victor Scott Ingram

 (Ingram) flew to Houston, Texas from California. Ingram then drove to McAllen, Texas with

 the Defendant. Solis and Alfredo Olmeda (Olmeda) then stayed in a hotel while they waited for

 Ingram. Eventually, Solis, Olmeda, and Ingram met to discuss their drug trafficking venture.

 Both Olmeda and Defendant followed Ingram to a location where they picked up a motorboat

 that was packed with marijuana.        Olmeda and the Defendant followed Ingram to put the


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 motorboat into the Gulf of Mexico. Olmeda drove Ingram’s rental vehicle, which had an empty

 boat trailer attached to it, to Corpus Christi. This trailer was registered under an alias name used

 by Juan Higuera (Higuera). Olmeda was stopped by a Texas Department of Public Safety

 Trooper at the Sarita U.S. Border Patrol checkpoint in South Texas. Ingram then drove the boat

 to Corpus Christi were it was docked and then transported to Conroe, Texas by Ingram with the

 marijuana inside the motorboat.

        Evidence would show that the motorboat used by Ingram was also registered under an

 alias used by Higuera. Ingram had been contacted by Andrade about the opportunity to fly from

 California to Texas to transport marijuana from South Texas up the Ship Channel to Corpus

 Christi. Andrade is the cousin of Jose Reyes Garcia (Reyes), who requested that Andrade find a

 driver for the motorboat. Andrade was paid by Reyes for supplying Ingram. Reyes is the owner

 of the marijuana. Reyes lives in Nacogdoches, Texas. The marijuana was eventually delivered

 to Nacogdoches, Texas. Nacogdoches is in the Eastern District of Texas.

        Additionally, the Government would establish that on or about October 1, 2005, Ingram

 was caught with 556 pounds of marijuana concealed in the motor boat he was operating along

 the southern coast of Texas. This evidence was submitted to the Department of Public Safety

 Crime Lab where it was tested and it was in fact determined to be 556 pounds of marijuana.

 The Government would also present evidence that the defendant was responsible for the

 distribution of more than 1000 kilograms of marijuana but less than 3000 kilograms of

 marijuana.

        Defendant, Richard Solis, signed the Factual Resume and acknowledged that the above-


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 stated facts would be proven by the Government through evidence and the testimony of other

 witnesses. He agreed with the evidence presented by the Government and personally testified

 that he was entering his guilty plea knowingly, freely and voluntarily. Counsel for Defendant and

 the Government attested to Defendant’s competency and capability to enter an informed plea of

 guilty.

                                     RECOMMENDED DISPOSITION

           IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offenses charged in Count I of the charging Information on file in this criminal

 proceeding. The Court also recommends that the District Court conditionally accept the plea

 agreement.2 Accordingly, it is further recommended that, Defendant, Richard Solis, be finally

 adjudged as guilty of the charged offense under Title 21, United States Code, Section 841(a)(1).

           Defendant is ordered to report to the United States Probation Department for the


           2
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
 extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
 in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).            The


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 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                   SIGNED this the 29th day of March, 2007.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




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